Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 1 of 28




                       Exhibit 13
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 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 2 of 28




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA

      ______________________________________
                                            )   MDL No. 2592
      IN RE: XARELTO (RIVAROXABAN)          )
      PRODUCTS LIABILITY LITIGATION         )   Judge Eldon E. Fallon
      ______________________________________)




                 Expert Report of Jan Rosing, Ph.D.




By:                                                    Date: October 09, 2016
      Jan Rosing, Ph.D.
  Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 3 of 28




                             XARELTO REPORT




Prof. Dr. J. Rosing

October 9, 2016
  Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 4 of 28

                                                2


I have been asked to review multiple materials; amongst others, clinical study reports,
internal and external correspondence and communications between Bayer and others,
papers published in literature, regulatory documents, and other materials and documents
(Appendix A) relevant to Xarelto (rivaroxaban), a direct factor Xa inhibitor, which is the drug
at issue in this litigation. More specifically, I have been requested to render a report detailing
the pharmacokinetics and pharmacodynamics of rivaroxaban and comment upon the impact
of rivaroxaban on the clotting system, as well as on clotting assays and the associated
benefits (stroke protection) and adverse side effects (major bleeding). The opinions
expressed within this review, which are based on my education, experience and training in
the fields of biochemistry and of thrombosis and haemostasis, are with a reasonable degree
of scientific certainty. I reserve the right to supplement my opinions and this report, subject
to ongoing medical and scientific study and the continuing review of additional information
produced from this litigation.

BASIC BACKGROUND AND QUALIFICATIONS
I was born on May 12, 1946 in Egmond aan den Hoef, The Netherlands. I studied chemistry
at the University of Amsterdam, and graduated in 1970, with a specialty in biochemistry. In
1974 I presented a PhD thesis at the same university, entitled ‘Studies on thermodynamics
and mechanism of oxidative phosphorylation’, supervised by Professor E.C. Slater.
Subsequently, I worked as a post-doctoral research fellow in the laboratory of the Nobel
Prize winner Professor P.D. Boyer at the University of California, Los Angeles. In 1976, I was
appointed research associate at the Maastricht University where I became involved in
research focused on biochemical aspects of blood coagulation. In 1995, I was appointed as
chairman of the Department of Biochemistry of the university and in 1997 became Professor
of Enzymology of Thrombosis and Haemostasis. In 2002, I was appointed as Professor of
Biochemistry at the Medical Faculty of Maastricht University. I retired in 2011 and then
became Emeritus Professor of Biochemistry at the same university.

I have been an editor of the Journal Pathophysiology of Haemostasis and Thrombosis,
member of the editorial boards of Computers in Biology and Medicine, and of The Journal of
Thrombosis and Haemostasis. In 2000, I was elected to the Council of the International
Society on Thrombosis and Haemostasis and became a member of the Daily Board of the
Cardiovascular Research Institute Maastricht (CARIM).

In the beginning of my research career in thrombosis and haemostasis, which started in
1976, I studied the basic biochemical mechanisms of coagulation factor activation. Later I
became involved in research on the mechanism of regulation of thrombin formation by
anticoagulant proteins and developed particular interest in the effects of female sex steroid
hormones, e.g., oral contraceptives on blood coagulation. Our research on the effect of
hormones on coagulation led to the development of assays which gave insight into the
molecular basis of both thrombotic and bleeding disorders and which enabled us to study
the mode of action of drugs on blood coagulation. I am currently still active in research
projects that concern: 1) the development of assays to measure functional activities of
coagulation proteins in plasma; and 2) studying mechanisms by which anticoagulant
peptides inhibit blood coagulation and affect the individual reactions of the blood
coagulation cascade.
  Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 5 of 28

                                             3


I have published more than 200 papers in peer-reviewed journals and 40 review papers. My
qualifications and publication history are further set forth in my curriculum vitae which is
annexed hereto as Appendix B. A list of prior testimony is attached as Appendix C and my fee
schedule is attached as Appendix D.
     Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 6 of 28

                                                 4


SUMMARY AND CONCLUSIONS
1.    Rivaroxaban (trade name Xarelto) is a direct factor Xa (FXa) inhibitor that is used for the
      prevention of stroke in patients with atrial fibrillation (AF), for the treatment of deep
      venous thrombosis (DVT), and the prophylaxis of DVT in patients undergoing knee or
      hip replacement surgery.

2.    Rivaroxaban is a potent FXa inhibitor that binds with a high affinity to FXa, and after
      binding inhibits FXa-catalyzed thrombin formation. The reduced thrombin generation
      subsequently prevents unwanted clot formation.

3.    Like for all other anticoagulant drugs, the most serious side effect of treatment with
      rivaroxaban is bleeding. Bleeding during anticoagulant treatment particularly occurs in
      patients receiving an overdose of drug.

4.    Rivaroxaban, which is absorbed in the gastro-intestinal tract, has a high bioavailability
      (80-100%), meaning that a major fraction of rivaroxaban present in the Xarelto tablets
      taken by patients enters the blood.

5.    Up to 35% of rivaroxaban that enters the circulation is cleared by the kidneys. As a
      result patients with an impaired renal function are exposed to high rivaroxaban levels
      and are treated with lower doses of rivaroxaban.

6.    The half-life of rivaroxaban, i.e., the time required to eliminate 50% of the rivaroxaban
      that entered the blood stream after dosing, is 7-11 hours in average patients (60 yrs.)
      and 11-13 hours in elderly people.

7.    Pharmacokinetic studies indicate that rivaroxaban treatment results in a rather wide
      inter-individual plasma concentration range and in a more than 5-fold across-day
      variation in plasma rivaroxaban levels in an individual patient treated with 20 mg od.

8.    The wide variation of rivaroxaban levels is shown in the ROCKET study in which 5% of
      the patients treated with 20 mg rivaroxaban OD had a rivaroxaban level at trough below
      12 µg/L and 5% had a rivaroxaban trough level higher than 137 µg/L.

9.    Rivaroxaban plasma levels higher than 65 µg/L (150 nM) exceed the plasma FX
      concentration. Considering the potency of FXa inhibition by rivaroxaban, such
      rivaroxaban levels can rapidly inhibit every FXa molecule that can be generated in
      plasma, and as a consequence can fully inhibit clot formation.

10. Plasma rivaroxaban levels can be determined with high performance liquid
    chromatography tandem mass spectrometry (HPLC-MS/MS), a physico-chemical
    technique that is not available in every hospital laboratory.

11. Anti-FXa assays like BIOPHEN DiXa-I®, BIOPHEN Heparin LRT® and STA®-Liquid Anti-
    Xa can be used to measure plasma rivaroxaban concentrations and result in levels that
    correlate very well with HPLC-MS-MS quantification.
  Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 7 of 28

                                              5


12. Measurement of the prothrombin time (PT) of plasma from patients treated with
    rivaroxaban shows a linear relationship between the PT and the plasma rivaroxaban
    level.

13. Bleeding risks of patients treated with rivaroxaban increase at increasing PT values
    while the stroke risk is constant at increasing PT values.

14. Rivaroxaban-treated patients with PT values > 20 sec determined with the PT assay
    used in the ROCKET at ~14 hours after the last rivaroxaban dose will be exposed to a
    higher risk of major bleeding than patients with PT values < 20 sec while their stroke
    risk is not further decreased.

15. The manufacturers of rivaroxaban have not sufficiently identified the lowest effective
    dose of rivaroxaban in all approved indications.

16. Considering the large variations of peak and trough rivaroxaban levels between patients
    and the large across-day variation in individual patients, dose-finding before treatment
    and twice daily dosing (BID) with a reduction of the total daily dose instead of a once
    daily dosing regimen (OD), will reduce major bleeding while maintaining ischemic
    stroke protection.
  Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 8 of 28

                                               6


INTRODUCTION TO NOVEL DIRECT ORAL ANTICOAGULANTS (DOACs)
Atrial fibrillation (AF) is worldwide the most common heart rhythm disorder. In AF, the lack
of an organized atrial contraction can result in the stagnation of blood flow in the left atrium
or the left atrial appendage which may subsequently lead to the clotting of blood and the
formation of a blood clot (thrombus).

Blood clots formed in the heart during AF may become mobile and be carried away into the
blood circulation. When the blood clot travels to the brain, and blocks the blood flow to parts
of the brain, a so-called ischaemic stroke occurs which, depending on the extent of brain
tissue damage, may be more or less serious and even lead to death.

In patients with AF, the risk of stroke is increased 2 to 17-fold depending on other patient
characteristics like age, hypertension and diabetes. To decrease the risk of stroke, AF
patients are treated with so-called anticoagulants, which are drugs that inhibit the clotting of
blood. Historically so-called vitamin K antagonists, e.g., warfarin are recommended to reduce
the risk of stroke in patients with AF. One of the disadvantages of vitamin K antagonists is
that they have multiple interactions with food and other drugs and that patients treated with
vitamin K antagonists require frequent laboratory monitoring.

Unwanted clot formation may also occur in veins. When clots are formed in deep veins of the
body (often in legs) one speaks of deep vein thrombosis or deep venous thrombosis (DVT), a
condition that may become particularly serious when the blood clot gets loose (embolises)
and travels to the lungs where it may cause pulmonary embolism (PE). Traditionally, venous
thrombosis (VT) is treated with vitamin K antagonists or with heparin or heparin-like
molecules.

Recently, a new class of anticoagulant drugs has entered the market. These so-called new
oral anticoagulants (NOACs), nowadays also called direct oral anticoagulants (DOACs),
directly and specifically target activated clotting factors, thereby inhibiting clot formation.
Currently, there are several DOACs which can be distinguished on the basis of the activated
clotting factor they inhibit. Rivaroxaban (trade name Xarelto) and apixaban (trade name
Eliquis) target activated factor X (FXa), and dabigatran (trade name Pradaxa) is a direct
thrombin inhibitor (DTI). Rivaroxaban, apixaban and dabigatran are approved by the FDA
for use as anticoagulants in the treatment of AF patients and of patients undergoing
hip/knee replacement surgery and those who have suffered an acute DVT/PE or require
prevention of recurrent DVT/PE.

For all anticoagulant drugs the most serious side effect is bleeding. An overdose of drug
prevents the clotting of blood and substantially increases the bleeding risk. For all
anticoagulant drugs it also applies that treatment with too low of a dose results in
suboptimal stroke protection. Hence, like for almost all drugs, there is also a treatment
regimen for anticoagulants which yields drug levels in the blood, the so-called therapeutic
range, that has an optimal risk-benefit ratio, i.e., provides optimal stroke protection and a
low bleeding risk.

Because vitamin K antagonists have multiple interactions with food and other drugs, their
activities have to be frequently monitored by blood testing to ensure that adequate and safe
  Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 9 of 28

                                            7


doses are taken. In contrast, the companies that market DOACs state that these
anticoagulants have a wide therapeutic range, which enables fixed dosing without the need
for laboratory monitoring or dose adjustments.1-6 However, since the introduction of the
DOACs, it became clear that major bleeding is a serious side effect of DOAC treatment and
hence, a substantial number of patients treated with DOACs will benefit from monitoring and
dose adjustments.7-11
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 10 of 28

                                              8


RIVAROXABAN (XARELTO) MOLECULAR PROPERTIES
Compound Characteristics12: Rivaroxaban (5-chloro-N-[[(5S)-2-oxo-3-[4-(3-oxomorpholin-4-
yl)phenyl]-1,3-oxazolidin-5-yl]methyl]thiophene-2-carboxamide) is a low-molecular weight
inhibitor (Mr= 436 g/mol) of the activated form of blood coagulation factor X (factor Xa). By
inhibiting factor Xa (FXa), rivaroxaban inhibits the FXa-catalyzed conversion of prothrombin
to thrombin and by blocking thrombin generation, rivaroxaban indirectly prevents the
formation of fibrin and unwanted blood clots. Rivaroxaban is practically insoluble in water.
In humans 92%–95% of the circulating rivaroxaban is bound to plasma proteins of which
albumin is the main binding component.



PHARMACOKINETICS OF RIVAROXABAN
The dosing of rivaroxaban varies between patients.13 AF patients with stroke risk are treated
with 20 mg OD (creatinine clearance (CrCl) ≥ 50 mL/min) or 15 mg OD (CrCl < 50 mL/min).
DVT and PE patients are treated with 15 mg BID in the first 21 days after the occurrence of
thrombosis and 20 mg OD afterwards. For the prophylaxis of DVT following hip- or knee
replacement surgery, patients are treated with 10 mg OD.

An excellent overview of the pharmacokinetics of rivaroxaban is given in a review paper of
Mueck et al.14 Studies in healthy individuals showed that rivaroxaban is rapidly absorbed
and that maximum concentrations in plasma are reached 2-4 hours after tablet intake. Oral
bioavailability for the 20-mg dose is high (80%–100%) when rivaroxaban tablets are taken
together with food. The elimination of rivaroxaban from plasma is rapid with a half-life of 7-
11 hours after dosing in typical patients (60 years, 80 kg), and 11-13 hours in elderly
people.14 Clearance from plasma occurred via renal and fecal/biliary routes. Approximately
60% of the administered dose is metabolized to inactive metabolites, of which half is
subsequently eliminated renally and the other half via the fecal route. The remaining one-
third of the administered dose undergoes direct renal excretion as unchanged active
substance in the urine.15 Since rivaroxaban is metabolized by a number of independent
metabolic pathways which involve different classes of enzymes, rivaroxaban should be less
prone to drug-drug interactions.

Mueck et al.14 summarized pharmacokinetic data (plasma concentrations) of rivaroxaban in
different patient populations. With respect to AF patients the pharmacokinetic data were
obtained from the ROCKET AF study16,17 which shows that in patients with a CrCl >50
mL/min the mean rivaroxaban concentration at trough (20-28 hours after dosing) is 44
µg/L (5th-95th percentile = 12-137 µg/L), while the C max, that is the peak value of the
rivaroxaban concentration in plasma (2-4 hours after dosing), was 249 µg/L (5th-95th
percentile 184-342 µg/L).

Using the molecular weight of rivaroxaban (436 g/mol), this equals 44/436 = 0.101 µM =
101 nM rivaroxaban at trough and 249/436 = 0.571 µM = 571 nM rivaroxaban at peak.
Considering the 5th-95th percentiles given by Mueck et al.,14 5% of the patients had a
rivaroxaban concentration higher than 137 µg/L (314 nM) at trough and higher than 343
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 11 of 28

                                                   9


µg/L (787 nM) at peak.
From the 5th-95th percentiles reported by Mueck et al.,14 one can also calculate that 95% of
patients had a rivaroxaban concentration at peak >184 µg/L (422 nM), which is 3 times
above the maximal FXa concentration (140 nM) that can be formed in blood.

The data discussed above, which is summarized in Table 1, indicate that in a
considerable number of patients during a considerable period of time the rivaroxaban
concentration is higher than the maximal FXa concentration that can be generated in
plasma. Thus, in these patients there is sufficient rivaroxaban circulating in plasma to
inhibit every FXa molecule that is formed, which creates a condition where the patient
is exposed to a high bleeding risk.

Table 1. Rivaroxaban plasma levels in AF patients

Patient population        Rivaroxaban        Ctrough         Cmax           Ctrough             Cmax
                              dose          (µg/L)          (µg/L)          (nM)               (nM)

AF patients                20 mg od         44 µg/La      249 µg/La        101 nMa           571 nMa
                                           (12-137)b     (184-343) b      (28-314)b         (422-787)b

5% of AF patients          20 mg od       ≥ 137 µg/L      ≥ 343 µg/L      ≥ 314 nM           ≥ 787 nM

95% of AF patients         20 mg od        ≥ 12 µg/L      ≥ 184 µg/L       ≥ 28 nM           ≥ 422 nM

Data from Mueck et al.14 for patients with a creatinine clearance (CLCr) ≥50 mL/min. Ctrough: samples
collected 20–28 h after dosing. Cmax: samples collected 2–4 h after dosing. ageometric means; b5th–95th
percentile range.


PHARMACODYNAMICS OF RIVAROXABAN
Pharmacodynamics involves the study of the biochemical and physiological effects of drugs
in the body, including the relationship between their chemical structure and their mode of
action.

Inhibition of FXa: Rivaroxaban (BAY 59-7939 in older papers18) is a potent FXa inhibitor
which rapidly (association rate constant [kon], 1.7*107 mol/L_1 s_1) and reversibly
(dissociation rate constant [koff], 5*10_3 s_1) inhibits human FXa19 with a Ki1 of 0.4 nM.18
Detailed kinetic analyses showed that it is a competitive inhibitor of the amidolytic activity
of FXa. Rivaroxaban concentrations as high as 20 µM did not affect other serine proteases
involved in haemostasis indicating that the selectivity of rivaroxaban for FXa is more than
10,000-fold greater than that for the other serine proteases tested.18 Rivaroxaban inhibited
FXa-catalyzed prothrombin activation by the prothrombinase complex (FXa-FVa-Ca2+-
platelets) with an IC50 of 2.1 ± 0.4 nM.18


1 K is the concentration inhibitor required to obtain 50% inhibition.
   i
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 12 of 28

                                                  10


The Ki of inhibition of FXa by rivaroxaban (0.4 nM) and the association rate constant of
binding of rivaroxaban to FXa (kon=1.7*107 mol/L_1 s_1) are important parameters to
appreciate the efficacy by which rivaroxaban inhibits FXa. Using basic kinetic equations, it
can be calculated that at 400 nM rivaroxaban, a concentration that is lower than that reached
at peak in 95% of patients treated with rivaroxaban [see above and ref. 14], more than 99%
of the FXa present or formed in blood will be inhibited within 1 second2.
Inhibition of Thrombin Generation: In vitro studies in platelet-rich plasma demonstrated
that rivaroxaban prolonged the initiation phase of thrombin generation and reduced the
thrombin burst produced in the propagation phase,20 and that thrombin generation is almost
completely inhibited at a plasma rivaroxaban concentration of 100 nM (43.6 µg/L), which is
close to the FX concentration present in plasma (100-140 nM 21,22). In the section on
pharmacokinetics of rivaroxaban presented in this report (p. 8, 9), it is described that 95 %
of AF patients treated with 20 mg rivaroxaban OD had a peak value (2-4 hours after dosing)
> 422 nM (184 µg/L) rivaroxaban in plasma. Comparison with the in vitro thrombin
generation data of Gerotziafas et al.20 suggests that 95% of the patients receiving 20 mg
rivaroxaban are 2-4 hours later exposed to rivaroxaban levels that completely inhibit
thrombin generation.
However, it should be mentioned that in other papers thrombin generation followed with
the calibrated automated thrombogram (CAT) assay was less susceptible to inhibition by
rivaroxaban.23-25 Wong et al.24 showed that thrombin generation was fully inhibited by 3000
nM rivaroxaban and Kremers et al.25 observed that 400 nM rivaroxaban was required to
prolong the lag time of thrombin generation 5-fold and to reduce the thrombin peak and the
endogenous thrombin potential with 80% and 55%, respectively.

The differences in sensitivity of thrombin generation for rivaroxaban reported in literature
are likely explained by different conditions at which the CAT assay is performed, i.e., at a low
tissue factor concentration with blood platelets as procoagulant surface20 or a high tissue
factor concentration and artificial phospholipid vesicles as procoagulant surface.23-25 It
appears that the efficacy with which rivaroxaban inhibits thrombin generation is dependent
on the strength of the coagulation trigger (tissue factor concentration and quality of
procoagulant phospholipid surface). This is illustrated in the modeling study of Jourdi et al.23
which showed that a fixed rivaroxaban concentration (430 nM) thrombin generation is more
sensitive for rivaroxaban at low than at high tissue factor concentration.

The importance of the procoagulant surface (blood platelets vs. artificial phospholipid
surfaces) and the tissue factor concentration in thrombin generation experiments is also
demonstrated by Graf et al.26,27 Graf et al. studied the effect of rivaroxaban on thrombin
generation in healthy male subjects who were given a placebo, or single doses of 5 mg
rivaroxaban or 30 mg rivaroxaban. Coagulation parameters (e.g., thrombin generation, Fig.
1AB) and rivaroxaban concentrations (HPLC-MS-MS quantification, see p. 12) were
determined in blood samples taken at various times after dosing. Of particular interest is Fig.
1B, which shows that in several subjects thrombin generation was (almost) fully inhibited at
plasma rivaroxaban concentrations above 50 µg/L.

2 t1/2 = (ln 2)/k = 0.69/k = 0.69/1.7*107 * 400*10-9 = 0.69/680 *10-2 = 0.69/6.8 = 0.1 sec at 400 nM.
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 13 of 28

                                                11


The data presented in Fig. 1B strongly suggest that plasma rivaroxaban concentrations
above 100 µg/L will not result in further stroke protection but will increase the bleeding risk
of patients.




Fig. 1. (A) Effect of placebo, 5 mg rivaroxaban and 30 mg rivaroxaban on thrombin generation (peak
endogenous thrombin potential, ETP-peak) after platelet activation with collagen (5 μg/mL) in plasma
samples taken from volunteers at various times after a single dose of rivaroxaban. Data are mean
relative change from baseline ± SD. (B) Correlation between rivaroxaban plasma concentrations and
thrombin generation (ETP-peak, change from baseline).26,27

Effect of rivaroxaban on clotting tests: Rivaroxaban inhibits all clotting tests that depend
on FXa or on the generation of FXa, e.g., the prothrombin time (PT), Russell viper venom
time (RVVT)-based assays, the activated partial thromboplastin time (aPTT) and anti-FXa
chromogenic assays.28-32 In one of the first papers in which the inhibitory properties of
rivaroxaban (BAY 59-7939) were described18 it was reported that the rivaroxaban
concentrations required to double the PT and the aPTT were 230 nM and 690 nM,
respectively. These concentrations were considerably higher than the Ki of rivaroxaban for
FXa inhibition (0.4 nM) or prothrombinase inhibition (2.1 nM). This is likely explained by the
formation of an excessive amount of FXa within a very short time period as a result of the
high concentration of trigger that is used to start the clotting of plasma in the PT and the
aPTT. For instance the amount of tissue factor (thromboplastin) used in the PT assay is 10
nM23 which is some 1000-fold higher than the tissue factor concentration commonly used in
the thrombin generation assay.33,34 The effects of rivaroxaban on routine clotting tests can
be used to determine the rivaroxaban level in plasma of patients during treatment (see
below).

MONITORING/DETERMINING RIVAROXABAN LEVELS IN PLASMA OF PATIENTS
Laboratory measurement of rivaroxaban in plasma samples: The development of DOACs
by the pharmaceutical industry was driven by the need to produce an anticoagulant for the
treatment of thrombotic disorders that has a wide therapeutic range in combination with
predictable pharmacokinetics and pharmacodynamics, the plasma levels of which are not
affected by other drugs or diet and hence do not require regular monitoring of treated
patients.
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 14 of 28

                                              12


Although it is stated in documentation provided by the pharmaceutical company that
markets rivaroxaban (Xarelto)2 as well as in several scientific publications35-40 that routine
laboratory monitoring of coagulation is not required when patients are treated with
rivaroxaban, there are several situations in which patients will benefit from monitoring. It is
generally accepted that clinical conditions that require monitoring of DOACs like
rivaroxaban include patients with bleeding or thrombosis,41-44 patients requiring emergency
surgery while using DOACs,35,41-44 or to confirm overdosage and intoxication.35,41-44
However, there are scientists who go further and challenge the "one dose fits all" concept for
treatment with DOACs.7-11 Considering the large variability in plasma concentrations of
DOACs in combination with an intrinsic narrow therapeutic index, it has been proposed that
individualized DOAC dosing may be beneficial and improve patient safety. Thus, dose finding
based on rivaroxaban exposure in individual patients is a promising approach to reduce
major bleeding events while maintaining stroke protection.

Dosing or monitoring of rivaroxaban requires the availability of tests to determine the
plasma level of rivaroxaban in patients. Currently, rivaroxaban concentrations in plasma can
be measured with a wide variety of laboratory methods. High performance liquid
chromatography in combination with tandem mass spectrometry (HPLC-MS/MS) is the
golden standard to determine the rivaroxaban level in plasma with excellent accuracy and
precision over a wide concentration range45,46. However, this technology is not widely
available in routine clinical laboratories and hence, several more accessible clotting-based
tests were developed to quantify rivaroxaban in plasma of patients.

With respect to measuring the plasma rivaroxaban concentration one should distinguish:
a) tests that quantify rivaroxaban in diluted patient plasma, e.g., anti-FXa assays like STA®-
   Liquid Anti-Xa,30,47,49,51 BIOPHEN DiXa-I®30,48-51 and BIOPHEN Heparin LRT®49
b) tests that measure the effect of rivaroxaban on the clotting of undiluted plasma of the
   patient, e.g., the widely available routine clotting assays like the prothrombin time
   (PT)28-30,32, 51,52 and the activated partial thromboplastin time (aPTT )28-30, 32 and more
   specialized assays like the Russell viper venom time (RVVT),28, 53 the prothrombinase
   induced clotting time (PiCT)28, 30 and the thrombin generation assay.24,26,28,30,47

Anti-FXa assays give an accurate number for the rivaroxaban concentration in plasma that
correlates well with quantification of rivaroxaban with HPLC-MS/MS30,47-51 (Fig. 2), but do
not provide information on the effect that that rivaroxaban level has on the clotting of blood
of that particular patient. The reason for this is that the effect of a given amount of
rivaroxaban on the clotting of blood may vary between patients.

Routine laboratory assays that can be used to determine the effect of rivaroxaban on the
clotting of undiluted plasma include the prothrombin time (PT)28-30,32,51 and the activated
partial thromboplastin time (aPTT).28-30,32

When a control plasma is spiked with known amounts of rivaroxaban, there appears to be a
good linear dose-response relationship between the rivaroxaban concentration in plasma
and the clotting time measured with the PT (Fig. 3A)28,30 and a dose-dependent prolongation
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 15 of 28

                                                 13


of the aPTT (Fig. 3B).28,30 However, when the same clotting assays are performed in full
plasma of patients receiving rivaroxaban, the correlation between clotting times and
rivaroxaban levels determined with HPLC-MS/MS is much less [compare Fig. 3A and Fig. 4].
The reason for this is that the clotting time of a given plasma sample is not only determined
by the rivaroxaban concentration but also by the basal activity of the coagulation pathway.
Since the basal activity of the coagulation pathway differs between individuals this will in a
population result in different clotting times for a given rivaroxaban concentration [Fig. 4]54.
However, the fact that the outcome of rivaroxaban testing in full plasma of patients is
modulated by the basal activity of the coagulation cascade can be used to determine the
degree of anticoagulation52,55 and help to estimate the risk of bleeding and stroke of an
individual patient (see below p. 15-22)




Fig. 2. Correlation between rivaroxaban levels in plasma from patients determined with HPLC-MS/MS
and the STA-Liquid Anti-FX assay. (Rathbun et al. Comparison of methods to determine rivaroxaban
anti-factor Xa activity. Thromb Res. 2015;135(2):39).




Fig. 3AB. Correlation between the PT (A) and the aPTT (B) and rivaroxaban levels in normal-pooled
plasma spiked with known amounts of rivaroxaban. (Samama et al. Assessment of laboratory assays to
measure rivaroxaban – an oral, direct Factor Xa inhibitor. Thromb Haemost 2010, 103: 815-825 (Fig. 1
and Fig. 3)).
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 16 of 28

                                                 14




Fig. 4 Effect of rivaroxaban concentrations determined with HPLC-MS/MS on the PT (n = 1592) of
healthy male subjects treated with rivaroxaban. PT was determined with rabbit brain thromboplastin
with an international sensitivity index (ISI) of 1.2 (Neoplastin Plus; Roche Diagnostics, Mannheim,
Germany). (Kubitza et al. Safety, pharmacodynamics, and pharmacokinetics of BAY 59-7939--an oral,
direct Factor Xa inhibitor--after multiple dosing in healthy male subjects. Eur J Clin Pharmacol.
2005;61(12):873-80)54. (BAY 59-7939 = rivaroxaban).

From the data presented in Fig. 4 an equation can be derived that describes the relation
between the plasma rivaroxaban concentration and the prothrombin time (PT). According to
the author of this report (JR) the PT value without rivaroxaban is 12.5 sec and the slope of
the line is 0.0492 yielding the following equation:
Rivaroxaban (µg/L)= [(PT -12.5)/0.0492]                                                Equation 1


DOSE-RANGING STUDIES TO EXPLORE EFFICACY AND SAFETY OF RIVAROXABAN IN
THE TREATMENT AND PREVENTION OF VENOUS THROMBOSIS AND STROKE
Five dose-ranging studies were performed to evaluate the efficacy and safety of rivaroxaban
in the treatment of acute asymptomatic thrombosis,56 proximal DVT,57 and in the
thrombophylaxis,58 and prevention59,60 of VTE after total hip58,59 and total knee60
replacement. The rivaroxaban doses tested were 20, 30, 40 mg OD in acute asymptomatic
thrombosis56 and 10, 20, or 30 mg BID or 40 mg OD in the Phase II trial in patients with
proximal DVT.57 In both studies there were no significant differences in the primary efficacy
outcome (venous thromboembolic complications and/or asymptomatic deterioration in
thrombotic burden) between the different doses. Hence, it was stated in both papers56,57 that
it is possible that lower doses might be as effective as the doses that were tested (20 mg
OD/10 mg BID).

Much lower rivaroxaban doses were tested in the thrombophylaxis of VTE after total hip
replacement58 (5, 10, 20, 30, or 40 mg OD) and for the prevention of VTE after total hip59 or
total knee replacement60 (2.5, 5, 10, 20, or 30 mg bid). Also in these trials there were no
significant differences in efficacy between the different doses, but in all studies there was a
significant increase of major postoperative bleeding at increasing doses.
On the basis of these studies, Phase III clinical trials were organized in which the efficacy and
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 17 of 28

                                             15


safety of rivaroxaban were compared with other anticoagulants.61-64 In these trials, fixed-
dose regimens were chosen, i.e., 15 mg twice daily for 3 weeks, followed by 20 mg once daily
in patients with symptomatic PE61 and symptomatic VTE62 and 10 mg of oral rivaroxaban
once daily for thromboprophylaxis after hip arthroplasty63 and after total knee
arthroplasty.64 Considering the Phase II dose ranging studies,56-60 the treatment regimen in
the Phase III studies, which are currently approved by regulatory authorities,65,66 were not
necessarily the lowest effective doses.

In 2010, the protocol of the ROCKET AF study, the aim of which was to compare the efficacy
and safety of rivaroxaban and warfarin for the prevention of thromboembolic disorders (e.g.,
stroke in patients with AF), was published.67 The results of the ROCKET AF study were
presented one year later in the New England Journal of Medicine.16 In the case of stroke
prevention in AF patients no Phase II dose-ranging study was performed and the choice of
rivaroxaban in the ROCKET study (20 mg OD or 15 mg OD in patients with a CrCl of 30-49
ml/min) was based on the two Phase II studies in which the efficacy and safety of different
rivaroxaban doses for the treatment of VTE was determined.56,57


STROKE PROTECTION, BLEEDING RATES, PROTHROMBIN TIME VALUES AND
RIVAROXABAN PLASMA LEVELS
The Advisory Committee Briefing Document "Rivaroxaban for the Prevention of Stroke and
Non-Central Nervous System (CNS) Systemic Embolism in Patients With Atrial Fibrillation,
JNJ39039039; BAY 59-7939 (Rivaroxaban)” prepared by the sponsor68 provides important
information on the effect of rivaroxaban exposure on the PT. On p. 36 of this document it is
reported that:

       Results obtained from the population PK/PD analyses in a subset of AF patients with
       matched PK/PD rich sampling (n=161) in the Phase 3 ROCKET AF trial, showed that
       rivaroxaban plasma concentrations exhibited a close-to-linear relationship with PT
       (Figure 4-1). At steady-state, the baseline PT was estimated to be 11.4 seconds and the
       slope of the correlation between PT and rivaroxaban plasma concentrations was 4.26
       seconds/100 μg/L. The residual variability was low (12.85%).

From the information presented above (baseline PT = 11.4 sec; slope = 4.26 sec/100 µg/L
Rivaroxaban = 0.0426 sec/1 µg/L Rivaroxaban) one can obtain an equation that describes
the relationship between the plasma rivaroxaban level and the prothrombin time (PT):
PT = 11.4 + 0.0426 * [Rivaroxaban].
----> Rivaroxaban (µg/L)= [(PT -11.4)/0.0426]                                      Equation 2

This equation closely resembles the equation between rivaroxaban levels and PT (Eq. 1 p.
14, Rivaroxaban (µg/L)= [(PT -12.5)/0.0492]) that was obtained from a pharmacokinetic
and pharmacodynamic study performed in healthy male subjects.54
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 18 of 28

                                                 16




Fig. 5. Rocket PT time vs. Rivaroxaban plasma concentration (ug/L). PT was measured with
Neoplastin®. (Xarelto AdComm Sep 8 2011 Sponsor Briefing Doc UCM270797.pdf, p. 36).68

On p. 38 of the FDA Draft Briefing Document for the Cardiovascular and Renal Drugs
Advisory Committee (Sept. 8, 2011 - FDA Ad Comm Briefing Document.pdf),69 a similar dose-
response relationship (Fig. 6) is presented which presumably contains the same data but
with reduced figure axes.




Fig. 6. Rocket PT as a function of the rivaroxaban plasma concentration. (Sept. 8, 2011 - FDA Ad Comm
Briefing Document.pdf, p. 3869 and 202439Orig1s000ClinPharmR-1.pdf, p. 27).70
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 19 of 28

                                                    17



On p. 39 (pdf p. 40) of the same document,69 a figure is presented which shows the
percentage of patients with ischemic stroke as a function of the PT (data from 7008 patients
from the ROCKET study), and which demonstrates that the occurrence of stroke was
independent of the PT (Fig. 7).




Fig. 7. Rocket patients with ischemic stroke as a function of the prothrombin time (PT). (Sept. 8, 2011 -
FDA Ad Comm Briefing Document.pdf, p. 39).69

In this figure the ROCKET population is divided in quartiles [cf. p.4169] with PT values < 14.2
sec, 14.2-16.6 sec, 16.6-19.8 sec and ≥ 19.8 sec, respectively. The data points (yellow
diamonds) in this figure represent the percentage of ischaemic stroke as a function of the
median PT of the different quartiles. The median PT values of these quartiles and
corresponding stroke percentages can be calculated from the figure (Fig. 7) and the median
PT values can be subsequently converted to median rivaroxaban concentrations using
Equation 2 given at p. 13. The results of these calculations are summarized in Table 2.

Table 2.
PT range quartile          PT (median)               Stroke           Plasma rivaroxaban
Q1 < 14.2 sec                 13 sec                  2.0 %                37.6 µg/L
Q2 =14.2-16.6 sec            15.3 sec                 1.8 %                91.5 µg/L
Q3 =16.6-19.8 sec            18.0 sec                 2.2 %               154.9 µg/L
Q4 ≥ 19.8 sec                23.0 sec                1.95 %               272.3 µg/L
Median and percent with ischaemic stroke (%) calculated from data points in Fig. 7.
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 20 of 28

                                                  18


On p. 40 (pdf p. 41) of the FDA Ad Comm Briefing Document,69 a similar figure is presented
which shows the percentage of ROCKET patients with major bleeds as a function of the PT
and which demonstrates that the occurrence of major bleeding increased with increasing PT
(Fig. 8).




Fig. 8. ROCKET patients with major bleeds as a function of the prothrombin time (PT). Taken from: p. 40
Sept. 8, 2011 - FDA Ad Comm Briefing Document.pdf.69

In this figure the ROCKET population is divided in the same quartiles as in Fig. 7, but the data
points (yellow diamonds) in Fig. 8 represent the percentage of major bleeding as a function
of the median PT of the patients in the different quartiles. The medians of the different
quartiles and corresponding stroke percentages were calculated from this figure and the
median PT values were converted to median rivaroxaban concentrations using Equation 2
given at p. 13. The results of these calculations are summarized in Table 3.

Table 3
PT range quartile         PT (median)         Major Bleeding        Plasma rivaroxaban

Q1 < 14.2 sec                 13 sec               3.05 %                 ~38 µg/L
Q2 =14.2-16.6 sec            15.3 sec              4.36 %                 ~92 µg/L
Q3 =16.6-19.8 sec            18.0 sec               5.2 %                 ~155 µg/L
Q4 ≥ 19.8 sec                23.0 sec               7.1 %                 ~272 µg/L
Median and percent with major bleeds (%) calculated from data points in Fig. 8.
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 21 of 28

                                                 19


The data presented in Table 2 and Table 3 are summarized in the figures presented below
which show a line figure (Fig 9A) and a bar diagram (Fig. 9B) of the stroke and major
bleeding incidence (both in %) as a function of the median plasma rivaroxaban
concentrations in patients in the ROCKET study.




Fig. 9AB. Stroke and major bleeding (both in %) in the ROCKET patient population at different plasma
rivaroxaban concentrations calculated from PT values. Figures were prepared using data presented in
Table 2 and Table 3.

Fig. 9AB indicates that rather low plasma rivaroxaban concentrations (< 100 µg/L) are
sufficient for stroke protection and that higher rivaroxaban concentrations do not further
protect against stroke, but substantially increase the major bleeding risk.

The question is whether these data are indicative of a therapeutic range and support
monitoring or dose-finding and a twice daily dosing regimen of AF patients that are
prescribed rivaroxaban for stroke protection. With respect to this it is important to
emphasize that rivaroxaban has a rather short half-life of 5–9 hours in healthy young
subjects and 11–13 hours in elderly subjects,14 and that peak plasma rivaroxaban
concentrations are ~6 times higher than trough concentrations14 (Table 1, p. 9). Hence, it is
important to know at which time after dosing with rivaroxaban the blood samples for PT
analysis in ROCKET were to be obtained. In the FDA Ad Comm Briefing Document69 it is
described on p. 44 that plasma samples were taken at the Week 12 and Week 24 visits and
were collected mostly 12-24 hours post rivaroxaban dose (Fig. 10). This figure shows that
the majority of PT values (~70%) of patients presented in Figs. 7-9 were obtained at ~ 14
hours (12-16 hours) after dosing which is close to the half-life value (t½) of rivaroxaban
elimination from plasma, that is the time at which plasma rivaroxaban levels are ~ 50% of
the peak value.
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 22 of 28

                                                  20




Fig. 10. Distribution of PT sampling times in PT-Ischemic stroke subset (n 6193). Majority of the PT
samples were collected during the 12-24 hours post dose window. (p. 27 (Figure 4) of REF 70. A similar
figure is presented on p. 44 (Figure 12) of REF 69).

Fig. 9AB suggests that rivaroxaban at concentrations of 100 µg/mL, present in blood at ~14
hours after receiving the last dose, provides optimal protection against stroke in AF patients
and minimizes bleeding risk. Higher rivaroxaban concentrations offer no further advantage
for stroke protection but are associated with substantially higher rates of major bleeding.
Thus, AF patients will likely benefit from dosing to rivaroxaban levels below 100 µg/L in
plasma (~ 14 hours post rivaroxaban dose).

The data and propositions presented above are supported by the pharmacokinetic and
pharmacodynamic study of Graf et al.26,27 in which it was demonstrated that in healthy male
volunteers who received a single dose of rivaroxaban, thrombin generation was fully or
almost fully inhibited at plasma rivaroxaban concentrations exceeding 100µg/L (see Fig. 1
on p. 11).

Dosing on the basis of rivaroxaban levels present in the plasma of a patient can be done with
HPLC/MS-MS or with anti-FXa assays carried out with diluted patient plasma. Although both
techniques accurately determine the plasma concentration of rivaroxaban, they carry two
disadvantages. In the first place, the performance of both assays requires special expertise
and the methodologies are only available in a limited number of routine clinical laboratories.
In addition, knowledge of the absolute plasma rivaroxaban concentration in blood of a
patient does not provide information on the effect that that rivaroxaban concentration has
on the clotting of blood of the patient.

Since a particular rivaroxaban concentration may differentially affect the clotting systems of
different individuals, i.e., result in different intensities of inhibition of clot formation52,55,
dosing/monitoring of an anticoagulant drug should be preferentially guided by a functional
assay, the outcome of which predicts stroke as well as bleeding risk of the individual patient.
Although several routine clotting assays are sensitive for the presence of rivaroxaban28-
30,32,51-53 and measure the effect of circulating rivaroxaban on the clotting of plasma from an
 Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 23 of 28

                                               21


individual patient, the classical PT assay is generally considered to be the best full plasma-
clotting test to quantify the activity of rivaroxaban in patient plasma.28-30,32, 51,52 The data
presented in the FDA Ad Comm Briefing Document69 and shown as Fig. 7 and Fig. 8 in this
report can be used to guide PT-based dosing in patients treated with rivaroxaban.
A conservative cut-off would be the lowest PT value of the last quartile (19.8 sec) which
would mean that in patients with PT values > 19.8 sec, determined ~14 hours after
rivaroxaban administration, either the dose of rivaroxaban has to be reduced to attain a PT
value in the range of that observed in patient quartiles with lower bleeding risks (e.g., a PT of
15.3 sec which is the median PT of the second quartile), or the rivaroxaban must be
discontinued. In short, the PT cut-off value allows a clinician to make appropriate
adjustments in therapy and protect patients from being exposed to an excessive bleeding
risk.

The applicability of the PT assay to screen patients for bleeding risk during rivaroxaban
treatment is also supported by "real-life observations" of Nakano et al.71 who related PT
values with outcome events (stroke, embolism and bleeding) in a group of AF patients
treated with rivaroxaban. They observed that patients who had peak PTs ≥20 sec
experienced significantly more bleeding events than patients with PT < 20 sec.

It should be emphasized that the cut-off PT proposed above, which is based on major
bleeding and stroke incidence in ROCKET patients, only holds for a PT assay performed with
a thromboplastin preparation as was used in the ROCKET study (Neoplastin®). Although
the PT linearly correlates with rivaroxaban plasma concentrations for thromboplastin
preparations from different manufacturers,28, 30, 52,72,73 the dependency of the PT as function
of the plasma rivaroxaban concentration, i.e., the slope of the rivaroxaban vs. PT plot,
depends on the thromboplastin preparation that is used in the PT assay.28, 30, 52,72,73

Considering the day-to-day variation of the PT assay and batch-to-batch variations of the
reagents, e.g., the type of thromboplastin reagent used in the assay, it is to be expected that
an even more reliable identification of patients exposed to an excessive anticoagulant effect
of rivaroxaban will be obtained on the basis of an INR value using an ISI for the
thromboplastin preparation that is specifically determined for rivaroxaban.73,74

Finally, the pharmacokinetic and pharmacodynamic properties of rivaroxaban suggest that a
twice daily regimen will result in lower peak to trough ratios in PT and lower rivaroxaban
levels compared to once daily dosing (Fig. 11 taken from REF 69,70). Hence, a combination
of twice daily dosing and a reduction in the total daily dose will likely result in a lower
bleeding risk without affecting the stroke risk. Indeed FDA reviewers70,75 of the sponsor
briefing document68 as well as members of the Cardiovascular & Renal Drugs Advisory
Committee75 noted that twice daily dosing might have been more safe and effective than a
once daily dosing regimen. In this respect it is also important to mention that for two other
DOACs (dabigatran and apixaban) that are prescribed for stroke protection in AF patients,
and which have a similar or longer half-life (t½) as rivaroxaban76, a twice daily dosing
regimen was chosen.77,78
In a recent paper Graham and coworkers79 reported that treatment of patients with
nonvalvular AF with rivaroxaban 20 mg OD was associated with a significant increase in
     Case 2:14-md-02592-EEF-MBN Document 5114-19 Filed 01/20/17 Page 24 of 28

                                                    22


bleeding compared with dabigatran 150 mg administered twice daily.
The authors hypothesized that the more pronounced anticoagulant effect observed during
treatment with rivaroxaban may be due to the fact that a higher rivaroxaban dose is
required for once-daily dosing compared with dabigatran which has a similar half-life76, but
which is dosed twice daily. They further suggested that a reduction of the daily rivaroxaban
dose or a twice-daily dosing regimen might reduce the bleeding risk.




Figure 11. Simulated PT-time course for the PK-PD subset in ROCKET-AF for a total daily dose of 20 mg
rivaroxaban, given as once daily (red-dashed line) or as twice daily (blue-solid line). The simulations
were based on rivaroxaban PK model and rivaroxaban PK-PT relationship presented in Figure 6, on
p.16 of this report. This figure is presented as Figure 1 at pdf page 25 of REF 70 and as Figure 3 at p. 34
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